Case 2:20-cv-12880-JMV-JSA Document 118-23 Filed 01/14/22 Page 1 of 3 PageID: 3503




  Exhibit J
  Model RICO Case Statement Order
Case 2:20-cv-12880-JMV-JSA Document 118-23 Filed 01/14/22 Page 2 of 3 PageID: 3504




                                APPENDIX O. OPTIONAL RICO CASE ORDER.
                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

          Plaintiff(s)      :
          v.                :                                  Civil Action No. _____________________
          Defendant(s)      :

                                             RICO CASE ORDER
                                             18 U.S.C. §§1961-1968

           The above-captioned case contains a civil RICO claim, which has been filed in this Court pursuant
  to 18 U.S.C. §§1961-1968. This order has been designed to establish a uniform and efficient procedure for
  processing this case.
           The plaintiff shall file, within 30 days hereof, a RICO Case Statement. This Statement is equivalent
  to a supplemental pleading which shall include the facts the plaintiff is relying upon to initiate this RICO
  complaint as a result of the "reasonable inquiry" required by Fed. R. Civ. P. 11. In particular, this Statement
  shall be in a form which uses the numbers and letters set forth below, and shall state in detail and with
  specificity the following information:
           1. State whether the alleged unlawful conduct is in violation of 18 U.S.C. §1962(a), (b), (c) and/or
  (d).
           2. List each defendant and state the alleged misconduct and basis of liability of each defendant.
           3. List the alleged wrongdoers, other than the defendants listed above, and state the alleged
  misconduct of each wrongdoer.
           4. List the alleged victims and state how each victim was allegedly injured.
           5. Describe in detail the pattern of racketeering activity or collection of unlawful debts alleged for
  each RICO claim. A description of the pattern of racketeering shall include the following information:
                    a. List the alleged predicate acts and the specific statutes which are allegedly violated;
                    b. Provide the dates of the predicate acts, the participants in the predicate acts, and a
  description of the facts surrounding the predicate acts;
                    c. If the RICO claim is based on the predicate offenses of wire fraud, mail fraud, or fraud
  in the sale of securities, provide the "circumstances constituting fraud or mistake [which] shall be stated with
  particularity." Fed. R. Civ. P. 9(b). Identify the time, place and contents of the alleged misrepresentations,
  and the identity of persons to whom and by whom the alleged misrepresentations were made;
                    d. State whether there has been a criminal conviction in regard to the predicate acts;
                    e. State whether civil litigation has resulted in a judgment in regard to the predicate acts;
                    f. Describe how the predicate acts form a "pattern of racketeering activity"; and
                    g. State whether the alleged predicate acts relate to each other as part of a common plan. If
  so, describe in detail.
           6. State whether the existence of an "enterprise" is alleged within the meaning of 18 U.S.C. §1961(4).
  If so, for each such enterprise, provide the following information:
                    a. State the names of the individuals, partnerships, corporations, associations or other legal
  entities, which allegedly constitute the enterprise;
                    b. Describe the structure, purpose, function and course of conduct of the enterprise;
                    c. State whether any defendants are employees, officers or directors of the alleged enterprise;
                    d. State whether any defendants are associated with the alleged enterprise;
                    e. State whether you are alleging that the defendants are individuals or entities separate from
  the alleged enterprise, or that the defendants are the enterprise itself, or members of the enterprise; and

                                                        -O1-
Case 2:20-cv-12880-JMV-JSA Document 118-23 Filed 01/14/22 Page 3 of 3 PageID: 3505



                     f. If any defendants are alleged to be the enterprise itself, or members of the enterprise,
  explain whether such defendants are perpetrators, passive instruments, or victims of the alleged racketeering
  activity.
            7. State and describe in detail whether you are alleging that the pattern of racketeering activity and
  the enterprise are separate or have merged into one entity.
            8. Describe the alleged relationship between the activities of the enterprise and the pattern of
  racketeering activity. Discuss how the racketeering activity differs from the usual and daily activities of the
  enterprise, if at all.
            9. Describe what benefits, if any, the alleged enterprise receives from the alleged pattern of
  racketeering.
            10. Describe the effect of the activities of the enterprise on interstate or foreign commerce.
            11. If the complaint alleges a violation of 18 U.S.C. §1962(a), provide the following information:
                     a. State who received the income derived from the pattern of racketeering activity or through
  the collection of an unlawful debt; and
                     b. Describe the use or investment of such income.
            12. If the complaint alleges a violation of 18 U.S.C. §1962(b), describe in detail the acquisition or
  maintenance of any interest in or control of the alleged enterprise.
            13. If the complaint alleges a violation of 18 U.S.C. §1962(c), provide the following information:
                     a. State who is employed by or associated with the enterprise; and
                     b. State whether the same entity is both the liable "person" and the "enterprise" under
  §1962(c).
                     c. Describe specifically how the defendant(s) participated in the operation or management
  of the enterprise.
            14. If the complaint alleges a violation of 18 U.S.C. §1962(d), describe in detail the alleged
  conspiracy.
            15. Describe the alleged injury to business or property.
            16. Describe the direct causal relationship between the alleged injury and the violation of the RICO
  statute.
            17. List the damages sustained by reason of the violation of §1962, indicating the amount for which
  each defendant is allegedly liable.
            18. List all other Federal causes of action, if any, and provide the relevant statute numbers.
            19. List all pendent state claims, if any.
            20. Provide any additional information that you feel would be helpful to the Court in processing your
  RICO claim.

  AND IT IS SO ORDERED this _____ day of ____________, 19 ___.

                                                              ___________________________
                                                              [Signature of Judicial Officer]




                                                       -O2-
